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                                          7027

Lugar, Justin (USAVAW)

From:                            Robert Jensen          @bop.gov>
Sent:                            Tuesday, May 26, 2020 3:54 PM
To:                              Debbie Stevens; Lugar, Justin (USAVAW)
Subject:                         Re: Inmate info: Samuel Lee Courtney, Reg. No. 06123-084, FCI Elkton (on the list)


I checked with the institution. They tell me we have no record of this inmate requesting Compassionate Release. So,
they have no Warden's memo to send me.




Sincerely,
Rob Jensen



Robert M. Jensen
Senior CLC Attorney
Federal Bureau of Prisons
Northeast Regional Office
U.S. Customs House Building, 7th Floor
2nd & Chestnut Street
Philadelphia, PA 19106
(215) 521‐7387
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Debbie Stevens
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Fax: (304) 256‐4928



>>> "Lugar, Justin (USAVAW)" <Justin.Lugar@usdoj.gov> 5/26/2020 3:18 PM
>>>

Debbie,



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